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L AW O FFICES OF J ILL R. S HELLOW
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                                      November 5, 2020

VIA ECF AND EMAIL                 Counsel's request for an extension until
The Honorable Loretta A. Preska   November 13, 2020 is granted. SO ORDERED.
United States District Judge
Southern District of New York                                   11/06/2020
500 Pearl Street
New York, NY 10007
PreskaNYSDChambers@nysd.uscourts.gov

       RE:    United States v. Rafael Romero, 88-cr-642 (LAP)

Dear Judge Preska:

      I am writing to request a fourth extension of time until November 13, 2020 to make a
supplemental submission in further support for Rafael Romero’s pro se motion for
compassionate release. The Government consents to this request.

        In order to complete my work, I need to review some factual matters with Mr. Romero,
and I have not been able to arrange an unmonitored attorney call with him. I am actively
working on this problem, but so far have not been successful. I am hopeful that with the
assistance of the BOP, I will be able to arrange a telephone call with Mr. Romero and an
interpreter next week.

       Thank you for your consideration.

                                            Respectfully submitted,


                                            Jill R. Shellow




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